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                                             EXHIBIT A
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                                                                                                  E-FILED
                                                                                          IN COUNTY CLERK'S OFFICE
                                                                                        PIERCE COUNTY, WASHINGTON

                                                                                           November 17 2021 8:30 AM
 1
                                                                                                KEVIN STOCK
                                                                                               COUNTY CLERK
 2                                                                                           NO: 21-2-08380-5

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 6               IN THE SUPERIOR COURT OF WASHINGTON FOR PIERCE COUNTY

 7   VITALIY BERYEZIN, as Personal
     Representative of the ESTATE OF SERGEY                NO.
 8   DEVYATKIN, Deceased,
                                                           COMPLAINT FOR
 9                                 Plaintiff,              WRONGFUL DEATH

10          v.

11   AMERICAN PROCESS GROUP, INC, a
     Washington corporation; SYNAGRO WEST,
12   LLC, a Delaware limited liability company;
     and SYNAGRO-WWT, Inc, a Delaware
13   corporation,

14                                 Defendants.

15
            Plaintiff VITALIY BERYEZIN, as Personal Representative of the ESTATE OF
16
     SERGEY DEVYATKIN, Deceased, by and through his attorneys of record, Stritmatter Kessler
17
     Koehler Moore, alleges:
18
                                                I. PARTIES
19
            1.       Plaintiff. Vitaliy Beryezin is the duly appointed Personal Representative of the
20
     Estate of Sergey Devyatkin, Deceased, pursuant to the Order Appointing Personal
21
     Representative and Issuing Letters, entered in the Washington Superior Court in and for King
22
     County,     cause   number    21-4-03005-3    SEA.    Plaintiff   has   signed   an    Oath     of
23

24   COMPLAINT - 1
                                                                                STRITMATTER KESSLER WHELAN
                                                                                                KOEHLER MOORE
                                                                                     3600 15th Avenue West, Ste. 300
                                                                                                  Seattle, WA 98119
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 1   Administrator/Personal Representative, entered in that action. Sergey Devyatkin resided in the

 2   state of Washington at the time of his death.

 3          2.       Plaintiff-in-Interest. The party in interest to the claims asserted by the Estate of

 4   Sergey Devyatkin is Galina Mikhailovna Glebova, who is the natural mother of Sergey

 5   Devyatkin.

 6          3.       Defendant American Process Group Inc. Defendant American Process Group,

 7   Inc. (“APGI”) is a for-profit corporation organized and existing under the laws of the state of

 8   Washington, and at all times material to this action conducted business in Pierce County,

 9   Washington, with its headquarters at 1201 Pacific Avenue, Suite 600, Tacoma, Washington

10   98402-4384.       APGI is a registered Washington general contractor, license number

11   AMERIPG927DS, and operates in Washington State under UBI number 602 477 526.

12   Defendant APGI resided in Pierce County, Washington at the time of the commencement of this

13   action within the meaning of RCW 4.12.020(3) and/or RCW 4.12.025. At all times and for all

14   purposes pertinent to this action, the general nature of APGI’s business has been dredging and

15   dewatering services. Defendant APGI’s registered agent for service of process in Washington

16   State is Registered Agent Solutions, 3400 Capitol Boulevard S.E., Suite 101, Tumwater, WA

17   98501, with a mailing address of P.O. Box 1386, Olympia, WA 98507-1368.

18          4.       Defendant Synagro West, LLC.         Defendant Synagro West, LLC (“Synagro

19   West”) at all times material to this action has been a for-profit limited liability company

20   organized and existing under the laws of the of the state of Delaware, with its headquarters at

21   435 Williams Court, Suite 100, Baltimore, MD 21220, and its principal place of business at 1800

22   Bering Drive, Suite 1000, Houston, TX 77057, is a registered Washington general contractor,

23   license number SYNAGWL945LA, and at all times material to this action conducted business in

24   COMPLAINT - 2
                                                                                  STRITMATTER KESSLER WHELAN
                                                                                                  KOEHLER MOORE
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                                                                                                    Seattle, WA 98119
                                                                                                         206-448-1777
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 1   Washington State under Washington UBI No. 602 033 868.              Defendant Synagro West’s

 2   registered agent for service of process in the state of Washington is CT Corporation System, 711

 3   Capitol Way S., Suite 204, Olympia, WA 98501-1267. On information and belief, at all times

 4   and for all purposes pertinent to this action, the general nature of Synagro West’s business has

 5   included acting as the services entity for the western region of its governing corporation,

 6   Synagro–WWT, Inc. On information and belief, Synagro West is a wholly owned and controlled

 7   subsidiary of Defendant Synagro–WWT, Inc.

 8          5.       Defendant Synagro–WWT, Inc. Defendant Synagro–WWT, Inc. (“Synagro-

 9   WWT”) at all times material to this action has been a for-profit corporation organized and

10   existing under the laws of the of the state of Delaware, with its headquarters at 435 Williams

11   Court, Suite 100, Baltimore, MD 21220, and at all times material to this action conducted

12   business in Washington State under Washington UBI No. 602 686 535. Defendant Synagro-

13   WWT’s registered agent for service of process in the state of Washington is CT Corporation

14   System, 711 Capitol Way S., Suite 204, Olympia, WA 98501-1267. On information and belief,

15   at all times and for all purposes pertinent to this action, the general nature of Synagro-WWT’s

16   business has been to provide payroll services and other business services to Defendant Synagro

17   West, and to act as the sole governor of Defendant Synagro West.

18          6.       Agency. At all times and for all purposes pertinent to this action: Each employee

19   of each Defendant was an agent of that Defendant with respect to the performance of

20   construction work at the City of Marysville 2020 Biosolids Removal and Reuse Project site, and

21   with respect to the unlawful and negligent manner in which safety obligations were breached at

22   that site, which led to Sergey Devyatkin being injured and killed there. Defendant Snyagro West

23   was an agent of Synagro-WWT and vice versa. Each wrongful act and omission of each

24   COMPLAINT - 3
                                                                                STRITMATTER KESSLER WHELAN
                                                                                                KOEHLER MOORE
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 1   Defendant’s agent, which act and/or omission was a proximate cause of Sergey Devyatkin

 2   injuries and death, was committed within the course and scope of such agency.

 3                                     II. JURISDICTION AND VENUE

 4          7.       Jurisdiction. The Superior Court of the State of Washington has jurisdiction over

 5   the subject matter and persons in this action because the incident complained of arose from

 6   Defendants’ and/or their agents’ commission of one or more tortious acts within the state of

 7   Washington and/or Defendants’ and/or their agents’ business contacts within the state of

 8   Washington, and/or Defendants and/or their agents’ ownership, use and/or possession of

 9   property within the state of Washington, and the damages suffered by the Plaintiff exceeds three

10   hundred dollars.

11          8.       Each Defendant has been or will be served with process in a manner required by

12   Washington law.

13          9.       Venue. Proper venue of this matter exists in The Superior Court of Washington

14   in and for Pierce County, because the cause(s) of action herein arose at least in part in Pierce

15   County, Washington, the tort(s) complained of was or were committed at least in part in Pierce

16   County, Washington, the work relating to the acts complained of was performed at least in part

17   in Pierce County, Washington and/or the Defendant APGI resided in Pierce County, Washington

18   at the time of the commencement of this action within the meaning of RCW 4.12.020(3) and/or

19   RCW 4.12.025.

20                                             III. FACTS

21          10.      The Project. From May 2020 through November 2020, the City of Marysville,

22   Snohomish County, Washington (“City”) conducted its so-called “2020 Biosolids Removal and

23   Reuse Project” (“Project”). The Project’s goal was to remove approximately 15,100 dry tons of

24   COMPLAINT - 4
                                                                                STRITMATTER KESSLER WHELAN
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 1   stored biosolids from the City’s wastewater treatment plant’s aeration cells and lagoons. The

 2   Project involved dredging, screening and dewatering the biosolids on a processing pad at the

 3   south end of the lagoons. From there, the processed biosolids were trucked to a so-called

 4   Beneficial Use Facility for disposal.

 5          11.      Low Bidder APGI. On April 13, 2020, the City awarded Defendant APGI the

 6   right to perform the Project, because APGI’s bid of $8,397,697 was the lowest of the three

 7   qualified bids the City received. A true and correct copy of the award letter is attached hereto as

 8   Exhibit A.

 9          12.      Management Reserve. Upon awarding the Project bid to Defendant APGI, the

10   City set a so-called “management reserve” for the Project in the additional amount of

11   $419,884.85, for a total amount allocated to the Project of $8,817,581.85.

12          13.      Other Bidders. Defendant Synagro West submitted a bid for the Project in the

13   amount of $9,610,000. An entity called Merrell Brothers submitted a bid for the project in the

14   amount of $9,597,000.

15          14.      City’s Estimate.        The City’s engineer estimated the project would cost

16   $9,235,000.

17          15.      Safety Statement. Defendant APGI’s bid for the Project submitted March 31,

18   2020 made the following statement, in which “APG” refers to APGI:

19            Safety influences our actions, guides our decisions and shapes our culture. We
              believe our employees are entitled to productive, healthy careers in an incident-
20            free workplace. We extend this philosophy further - to include our employees'
              family members, our contractors, all other APG stakeholders and every
21            community in which we perform our work. All personnel are trained in First
              Aid, H2S Alive, WHMIS and most are trained in Confined Space Entry &
22            Rescue. We comply with the latest OSHA and OH&S safety standards as well
              as the workers compensation board and any other local jurisdictions in place
23            where the work will be performed.

24   COMPLAINT - 5
                                                                                  STRITMATTER KESSLER WHELAN
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              The Electrical buildings will contain fire extinguishers and a first aid kit will be
 2            kept in the onsite office. While on site, all personnel will wear proper Personal
              Protective Equipment including steel toe boots, hardhat, and safety glasses with
 3            side shields. …

 4          16.      Dewatering System. The Project used a dual augur temporary sludge dewatering

 5   system (“Dewatering System”) to extract water from sediment that had been dredged from the

 6   City’s sewage treatment settling ponds.

 7          17.      Screening Unit. The Dewatering System had a component called the “Screening

 8   Unit”. The Dewatering System was designed to work as follows: Debris dredged from the

 9   settlement ponds is deposited onto the top of the Screening Unit.. Below the screen is a tank.

10   The dredged debris falls through the screen into a tank. Some dredged debris is too large or

11   otherwise configured (such as hair and/or other stringy or floppy material) to go through the

12   screen. That material remains atop the screen or is caught in the screen. Below the screen, in the

13   tank, dual augurs separate larger debris that has come through the screen from the sludge’s finer

14   components. The augurs push that larger debris forward and out of the tank to the end of the unit.

15   There the larger debris pieces are ejected from the Screening Unit. The water and biosolids left

16   behind are mixed with a polymer coagulating powder and water. From there, the biosolids are

17   pumped into the centrifuges, which remove most of the water from that mixture and drop the

18   dewatered solids onto a ground-level area where they can be collected and hauled away by truck.

19          18.      Photo of Screening Unit. Below are photos of the Screening Unit taken by the

20   Marysville Police Department as part of its investigation shortly after Sergey Devyatkin’s death.

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24   COMPLAINT - 6
                                                                                   STRITMATTER KESSLER WHELAN
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24   COMPLAINT - 7
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 1            19.    Screens and Augurs. Below is a photo taken by the Marysville Police Department

 2   as part of its investigation shortly after Sergey Devyatkin’s death, showing the top of the

 3   Screening Unit and screen panels.          The augurs are located below the metal screens. The

 4   Screening Unit is designed so that the augurs are powered and can rotate without the screens in

 5   place.

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              20.    Worker Access. Below is a photo taken by the Marysville Police Department as
18
     part of its investigation shortly after Sergey Devyatkin’s death, showing the path of worker
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     access to the top of the Screening Unit.
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24   COMPLAINT - 8
                                                                               STRITMATTER KESSLER WHELAN
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24   COMPLAINT - 9
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 1             21.   Acquisition of Dewatering System. Defendant APGI leased some or all of the

 2   Dewatering System from, on information and belief, Defendant Synagro West. On information

 3   and belief, Synagro West knew, or reasonably should have known, and could reasonably foresee,

 4   that the Screening Unit it provided to Defendant APGI was to be used on the Project. On

 5   information and belief, Synagro West had leased or purchased some or all of the Screening Unit

 6   from Pace Dewatering Systems (“Pace DS”).

 7             22.   Manual. On information and belief, neither Defendant APGI nor Defendant

 8   Synagro West requested any type of operator’s manual with the Screening Unit prior to Sergey

 9   Devyatkin’s death.

10             23.   Unused.   The Dewatering System was unused from the time Synagro West

11   acquired it from Pace DS until it was delivered to APGI’s worksite at the Project and placed into

12   service.

13             24.   Replacing Brushes. The augurs are designed with brushes that continually clean

14   the augur. Over time, the brushes wear down and/or are damaged, and become less and less

15   effective. To replace the brushes requires that the machine be stopped and the augurs be

16   removed; a process that takes approximately an entire work day.

17             25.   Hosing Screen.   At the Project, APGI employees used a hose to spray the

18   Screening Unit’s screens several times per work shift, because the screens become clogged with

19   debris.

20             26.   Hosing Dual Augurs. At the Project, APGI employees used a hose to spray the

21   Screening Unit’s dual augurs and brushes, because doing so reduced brush wear, and once the

22   brushes began to wear significantly, cleaned the augurs.      In order to clean the augurs and

23   brushes efficiently, APGI employees sprayed them while the augurs were turning. Doing so was

24   COMPLAINT - 10
                                                                                STRITMATTER KESSLER WHELAN
                                                                                                KOEHLER MOORE
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 1   regarded by APGI as faster, cheaper and less messy than spraying and/or otherwise cleaning

 2   them while the augurs were motionless.

 3            27.   Cleaning frequency.     One of APGI’s workers at the Project reported to the

 4   Washington State Department of Labor and Industries (“L&I”) that once the Screening Unit’s

 5   augur cleaning brushes started to wear out, the brushes had to be sprayed out twice a night for

 6   two nights, then ten times per night for two nights.

 7            28.   Worker Position During Cleaning. To hose down the Screening Unit’s screen

 8   panels and/or the rotating augurs and their brushes, the common practice at the Project was for

 9   the APGI worker to stand on the Screening Unit’s screen panel catwalk, and to lift a screen panel

10   out of position as a catwalk component so that the panel could be cleaned effectively. Removing

11   the panel from its position as part of the catwalk removed the only physical barrier between the

12   worker and the opening above the augurs created by the removed screen panel. In other words,

13   removing the screen created a screen-size hole in the catwalk above the augurs below; a hole

14   large enough for a person to fall through.

15            29.   Brush Change-August 10, 2020. According to APGI’s Tower Sheet, Bates No.

16   APG 00129 submitted to L&I, on August 10, 2020, during the work shift from 6:00 a.m. to 6:00

17   p.m., APGI replaced the Screening Unit’s brushes, and fixed a bearing shaft for the left side

18   brush.

19            30.   The Incident. On or about August 13, 2020 at about 4:00 a.m., Sergey Devyatkin

20   was employed by APGI as a laborer assigned to clean the Screening Unit. He climbed up the

21   Screening Unit. He fell through a hole created by a removed screening panel and into the rotating

22   equipment augurs while they were operating. He screamed. The augurs struck, pinched, cut,

23   tore, dismembered and otherwise mutilated his body, causing terrible injuries from which he

24   COMPLAINT - 11
                                                                                STRITMATTER KESSLER WHELAN
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 1   died. The augurs spit his body parts out the end of the Screening Unit, where they fell into a

 2   heap on the ground.

 3          31.    L&I Depiction. Below is a true and accurate copy of a page from the L&I

 4   investigation of Sergey Devyatkin’s death, in which L&I indicates one of the Screening Unit’s

 5   screens was removed to permit access to the augurs for cleaning. On information and belief, the

 6   removal of this screen created the hole into which Sergey Devyatkin fell.

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24   COMPLAINT - 12
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 1          32.      Death. Sergey Devyatkin died on August 13, 2020.

 2          33.      Contractor. Defendant APGI was the City of Marysville’s selected contractor for

 3   the Project. Defendant APGI performed the functions and duties of a general contractor at the

 4   Project.

 5          34.      Control. Defendant APGI had a contractual responsibility to control the job site,

 6   including but not limited to the portion of the construction site where Sergey Devyatkin

 7   sustained fatal injuries. Defendant APGI retained a right to control the manner in which its

 8   employees were equipped, and in which they operated machinery and equipment, cleaned the

 9   Screening Unit, and otherwise performed their work at the Project. Defendant APGI managerial

10   personnel selected, procured and were familiar with the function, features and operation of the

11   Screening Unit.

12          35.      Regulatory    Safety   Responsibilities.    Defendant   APGI      had   rights   and

13   responsibilities arising from Washington statutes and regulations:

14                a. to equip its workers with personal protective equipment at the Project; and

15                b. to control the jobsite activities of the personnel who oversaw and enforced

16                   workplace safety rules and policies with regard to the Project.

17          36.      Contractual Safety Responsibilities.       The City of Marysville required that

18   Defendant APGI conform to worker safety laws at the Project site. The 2020 Biosolids Project

19   Manual, which was incorporated by reference into the Project contract between the City and

20   Defendant APGI, provided, in part, as follows, under Subsection 1-07.1:

21          The Contractor shall have sole responsibility for the safety, efficiency, and
            adequacy of the Contractor’s plant, appliances, and methods, and for any damage
22          or injury resulting from their failure, or improper maintenance, use, or operation.
            The Contractor shall be solely and completely responsible for the conditions of
23          the project site, including safety for all persons and property in the performance of

24   COMPLAINT - 13
                                                                                   STRITMATTER KESSLER WHELAN
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 1          the work. This requirement shall apply continuously, and not be limited to normal
            working hours. The required or implied duty of the Engineer to conduct
 2          construction review of the Contractor’s performance does not, and shall not, be
            intended to include review and adequacy of the Contractor’s safety measures in,
 3          on, or near the project site.

 4          37.      Site Specific Safety Plan. Defendant APGI authored, and submitted to the City of

 5   Marysville, a Site Specific Safety Plan for the Project, dated May 14, 2020. A true and correct

 6   copy of that document is attached hereto as Exhibit C. That document referred to APGI as

 7   “American Process Group” and “APG”. The document provided, in part:

 8                a. At Section 1.2, “Overall General Responsibility for Safety”:

 9                        i. “American Process Group will ensure that the work site health and safety

10                           of all the APG workers involved is maintained during every aspect of the

11                           work being performed.”

12                       ii. “APG will also establish a system of regular inspections (possible

13                           inclusion of an internal safety audit) that will include all personnel and

14                           subcontractors to ensure that compliance is maintained.”

15                      iii. “APG will ensure all work to be performed in the designated areas of this

16                           project will be carried out in accordance with all applicable federal,

17                           provincial, civic & municipal acts or regulations.”

18                b. At Section 1.3, “Specific Responsibility for Safety”:

19                        i. Under “Project Manager”:

20                              1. “Ensure all tools and equipment required to execute the job safely

21                                  are available and maintained in safe working order.”

22                              2. “Include HSE observation as part of walkabouts.”

23                              3. “Take corrective action on observed non-compliance issues.”

24   COMPLAINT - 14
                                                                                    STRITMATTER KESSLER WHELAN
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 1                           4. “Conduct H&S inspections of work area, direct corrective action

 2                               for unsafe conditions noted and inform the H&S (site and

 3                               corporate) of inspection results.”

 4                    ii. Under “Safety Officer”:

 5                           1. “Lead by example.”

 6                           2. “Assist    project   management        and   supervision   in   incident

 7                               prevention, investigation, analyses, and preparation of reports and

 8                               summaries.”

 9                           3. “Ensure that corrective actions have been implemented whenever

10                               deficiencies have been identified.”

11                    iii. Under “Corporate Safety”:

12                           1. “Responsible for the development, implementation, coordination

13                               and management of APG’s Health and Safety program.”

14                           2. “Ensure corporate compliance with APG’s H&S program, client

15                               requirements, and applicable provincial and federal OH&S

16                               regulations.”

17                           3. “Conduct internal audits, develop and implement action plans upon

18                               completion of audits.”

19                           4. “Maintain APG’s corporate H&S record keeping system, which

20                               includes tracking incidents/accidents, training, and frequency and

21                               severity rates.”

22            c. At Section 1.5, “Guiding Documents for Safety”: “American Process Group will

23                endeavor to determine the best practice for all work activities undertaken

24   COMPLAINT - 15
                                                                                 STRITMATTER KESSLER WHELAN
                                                                                                 KOEHLER MOORE
                                                                                      3600 15th Avenue West, Ste. 300
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 1                throughout the duration of the project. APG will also follow the most stringent

 2                provincial and federal Occupational Health, Safety and Environmental regulations

 3                that apply specifically to the work that is being undertaken at this work-site. The

 4                following documents will be used to guide the safety process at the designated

 5                worksites(s) for the duration of this project:

 6                        • OSHA Regulations
                          • APG’s Site Specific Safety Plan
 7                        • APG’s Health, Safety & Environment Policies
                          • APG’s Worksite Safety Binder
 8                        • SDS online/ safety binder

 9            d. At Section 3.1, “Hazards Identified at the Worksite”:         “The hazards / risks

10                identified at this work-site are as follows:

11                    x   Injury to APG worker(s) or members of the public, on and adjacent to the

12                        actual work-site; …

13                    x   Slip / trip hazards (Uneven surfaces, water, unseen objects / debris, loose

14                        stones, rocks, etc…); …

15                    x   Improper proper personal protective equipment (“PPE”), tools or

16                        equipment;

17                    x   Spinning / rotating parts of conveyors and equipment (cut hazard, flying

18                        stones and other debris); …

19                    x   Working on or near water; …
20                    x   Working at heights. …”
21            e. At Section 3.2, “Hazard Mitigation”:
22                    x   “Fall Protection equipment & documented plans.”
23

24   COMPLAINT - 16
                                                                               STRITMATTER KESSLER WHELAN
                                                                                               KOEHLER MOORE
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                                                                                                 Seattle, WA 98119
                                                                                                      206-448-1777
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 1                       x   “Fencing around conveyors.”

 2          38.      APGI’s Lock Out/Tag Out Program.               Prior to Sergey Devyatkin’s death,

 3   Defendant APGI had created a written Lock Out/Tag Out Program.

 4                a. APGI’s written Lock Out/Tag Out Program, at page 1, item 3, states:

 5                   “All authorized employees must isolate the energy supply by following the

 6                   appropriate APG Lockout procedure where the starting of the machine,

 7                   inadvertent movement of the machine or its parts, or inadvertent release of other

 8                   energy could cause injury to a person. This MUST be done prior to performing

 9                   any work or maintenance on that machine.”

10                b. APGI’s written Lock Out/Tag Out Program, at page 2, item 12, states:

11                   “The Manager of Operations where applicable, and the Project Manager when the

12                   maintenance to be done is under the direction or control of the Project Manager,

13                   shall ensure that the lockout procedures are maintained, enforced, and made

14                   available to all employees and contractors.”

15          39.      Site-Specific Lock Out/Tag Out. APGI’s Project Manager, Olegsandr (“Alex”)

16   Krynitskyy, told L&I that to lock out the Screening Unit, he would shut off the circuit breaker in

17   a worksite trailer; but he did not know how other employees did it. Mr. Krynitskyy told APGI

18   laborer, Ryan Smith, that whether to clean the Screening Unit while it was running was at the

19   worker’s discretion. Mr. Smith trained Sergey Devyatkin, but aboard the barge, not while

20   together on the Screening Unit.

21          40.      No Lock Out/Tag Out Training. Sergey Devyatkin did not receive Lock Out/Tag

22   Out training.

23

24   COMPLAINT - 17
                                                                                  STRITMATTER KESSLER WHELAN
                                                                                                  KOEHLER MOORE
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 1          41.     Non-performance of Lock Out/Tag Out. Mr. Smith never saw lock out/tag out

 2   being performed.

 3          42.     No Assessment. On information and belief, APGI did not conduct an assessment

 4   of the hazards associated with the leased dual auger Screening Unit before putting it into service

 5   and allowing employees to work with it.Screen Washing Frequency. At the end of a shift prior

 6   to the one on which Sergey Devyatkin was killed, APGI’s Project Manager, Olegsandr

 7   Krynitskyy asked Sergey Devyatkin why he was not atop the Screening Unit more, and told

 8   Sergey Devyatkin that he should be washing the screens on the Screening Unit at least 12 times

 9   per shift. Sergey Devyatkin replied that he had worked up there for 12 hours at a time and that it

10   is not effective to wash through the screens; rather, he had to lift them instead. Neither Mr.

11   Krynitskyy nor anyone else at APGI used this information to enforce and/or implement safety

12   rules and/or practices with respect to cleaning the screens that would ensure a worker doing so

13   did not fall onto the augurs.

14          43.     No Safety Oversight. On information and belief, no APGI safety professional

15   was present on Sergey Devyatkin’s worksite during the work shift on which he was killed.

16   Defendant APGI had no effective means in place at the Dewatering System to discover whether

17   night shift workers, including but not limited to Sergey Devyatkin and his coworkers, on the

18   night he was killed, were complying with safety and health standards prior to his death.

19          44.     Unreasonable Communication.        On information and belief, APGI did not

20   reasonably communicate its safety and health policies with respect to Sergey Devyatkin.

21          45.     Unreasonable Application and Enforcement. On information and belief, APGI

22   did not reasonably apply and enforce its safety and health policies with respect to Sergey

23   Devyatkin.

24   COMPLAINT - 18
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                                                                                                 KOEHLER MOORE
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 1           46.      Willful and Wanton Noncompliance.          On information and belief, Defendant

 2   APGI, willfully and wantonly ignored its own Site Specific Safety Plan with regard to the

 3   circumstances that caused Sergey Devyatkin’s death. Well before his death, Defendant APGI

 4   knew:

 5                 a. Safety incidents and accidents could occur, and would occur in general on APGI

 6                    projects, having developed a system to track them.

 7                 b. Specific hazards existed at the Project, which included but were not limited to

 8                    slipping, working around mud, slime and water, working at heights suspended

 9                    over spinning / rotating augur conveyors that presented cut hazards unprotected

10                    by proper personal protective equipment including but not limited to fall

11                    protection, such as a harness.

12                 c. A worker should be thoroughly trained and supervised in safe job practices and in

13                    job-specific safety measures.

14                 d. A worker should have the proper PPE.

15                 e. All safety rails and guards should be in place.

16                 f. A worker should maintain three points of contact when climbing on equipment.

17                 g. Workers can feel pressure to perform, even under unsafe conditions, for fear of

18                    losing their jobs.

19                 h. Working atop the Screening Unit was inherently dangerous to its workers, for

20                    reasons that included, but were not limited to:

21                         i. The top of the unit, including the catwalk screen panels over the augurs,

22                            was sloped, not level.

23

24   COMPLAINT - 19
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 1                     ii. The catwalk screen panels were made of metal, and slippery when in

 2                         contact with wastewater and settlement pond debris.

 3                     iii. The fall height from the top of the Screening Unit was sufficient to cause

 4                         serious and/or fatal injury from falling alone; in some places

 5                         approximately 14 feet.

 6                     iv. No fencing or other guard blocked a worker atop the catwalk from

 7                         entering the void created over the augurs when a screen panel was

 8                         removed.

 9                      v. No lock out/tag out procedure was in place or was generally being

10                         followed while workers cleaned the screen panels.

11                     vi. No interlock prevented the augurs from turning when a Screening Unit

12                         screen panel was removed.

13                    vii. No designated attach point for a safety harness for workers on the

14                         Screening Unit catwalk existed.

15                    viii. APGI neither required nor provided workers a safety harness for use atop

16                         the Screening Unit catwalk.

17                     ix. It was patently foreseeable that a worker atop the Screening Unit would be

18                         unable to continually maintain three points of contact with fixed parts of

19                         the structure, especially while removing a screen panel and/or using a

20                         hose.

21                      x. The design and application to the Project of the Screening Unit invited

22                         cleaning it under dangerous conditions.

23            i. Sergey Devyatkin had not received lock out/tag out training.

24   COMPLAINT - 20
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 1              j. Employees not trained to ensure understanding and the skill necessary to carry out

 2                  the energy control program may not be able to follow the procedures, thus

 3                  exposing them to moving machinery which would cause permanently disabling or

 4                  fatal injuries.

 5              k. APGI did not conduct site specific assessment of the hazards associated with the

 6                  leased dual auger Screening Unit before putting it into service and allowing

 7                  persons to work atop it.

 8              l. No APGI safety professional was present on Sergey Devyatkin’s worksite during

 9                  the work shift on which he was killed, and APGI had no effective means in place

10                  at the Dewatering System to discover whether night shift workers, including but

11                  not limited to Sergey Devyatkin and his coworkers on the night he was killed,

12                  were complying with safety and health standards.

13              m. APGI did not reasonably communicate its safety and health policies to Sergey

14                  Devyatkin.

15              n. APGI did not reasonably train Sergey Devyatkin.

16              o. APGI did not apply its safety and health policies to Sergey Devyatkin.

17   Accordingly, Defendant APGI was aware that failure to implement protections against such

18   hazards, particularly under the conditions Sergey Devyatkin faced, would inevitably lead to a

19   worker’s injury. In fact, as the L&I investigation revealed, Ryan Smith, who was one of Sergey

20   Devyatkin’s co-workers, told Sergey expressly that if he were to fall into the tank, he would die.

21   On information and belief, APGI’s corporate managers had the same knowledge that death

22   would certainly occur, if the dual augurs were in operation at the time of the fall. And yet,

23   Defendant APGI put him into that position, exposing him unnecessarily to extraordinarily risky

24   COMPLAINT - 21
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 1   and illegal work conditions in order to do his menial job, without adequate and legally required

 2   protections, so that APGI could squeeze more profit out of its lowest bid.

 3          47.      Labor & Industry Investigation.     The Washington Department of Labor &

 4   Industries (“L&I”), Division of Occupational Safety and Health (“DOSH”) investigated

 5   circumstances surrounding the death of Sergey Devyatkin.

 6          48.      Labor & Industry Findings.       L&I DOSH’s investigation wrote to Sergey

 7   Devyatkin’s mother, Glebova Galina Mikhaylovna, in care of her attorneys, on or about January

 8   21, 2021. That letter stated, in part:

 9            DOSH's inspection identified several areas that we believe contributed to this
              tragic event. The investigation revealed that the employer was allowing
10            employees to access the top of the Screening Unit to conduct cleaning
              operations without first ensuring that proper energy control procedures were
11            developed and implemented, as well as ensuring all employees were trained in
              those procedures. Covers over the Screening Unit were removed during
12            cleaning operations exposing workers to hazardous energy in the form of a
              rotating auger system. Health and safety codes in the State of Washington
13            prohibits those activities unless the energy source has been adequately
              controlled to prevent serious injury or death. Additional code violations were
14            also discovered during the course of the investigation, but not necessarily
              related, or contributing to this tragic event. Those included the lack of a proper
15            guard rail system on the top of the Screening Unit, and failing to properly
              identify confined spaces in the workplace by signage or other means.
16
     By “the employer”, DOSH meant Defendant APGI. A true and correct copy of the letter is
17
     attached hereto as Exhibit B.
18
            49.      Labor & Industry Violations. L&I DOSH’s investigation found that Defendant
19
     APGI had committed serious violations of the following industrial safety regulations:
20
                  a. WAC 296-803-20005(5):
21
                     The employer did not ensure that the energy control procedures identified
22                   the specific procedural steps as required by the code.

23

24   COMPLAINT - 22
                                                                                  STRITMATTER KESSLER WHELAN
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 1                The employer's energy control program did not have energy control
                  procedures for the Screening Unit that identified what the specific
 2                procedural steps are for shutting down, isolating, blocking, and securing
                  the machine or equipment, the placing, removing, and transferring lockout
 3                or tagout devices, and who is responsible for them, and how to test the
                  machine or equipment to verify the effectiveness of the lockout devices,
 4                and other energy control measures.

 5                Energy control procedures that are not established expose workers to
                  hazards from unexpected start up or unaccounted for energy sources that
 6                could cause permanently disabling or fatal injuries.

 7            b. WAC 296-803-40005:

 8                The employer did not ensure that an appropriate means to control energy
                  was applied.
 9
                  Three laborers were conducting cleaning and/or clog and jam clearing
10                operations on the Screening Unit without an appropriate means to control
                  energy having been applied.
11
                  Workers conducting cleaning and/or clog and jam clearing operations
                  without having a means to control energy applied would be exposed to the
12
                  unexpected startup of that machine and would sustain injuries requiring
                  hospitalization or a fatal injury.
13
              c. WAC 296-803-60005(1):
14
                  The employer did not ensure employee training on the energy control
15                program was completed.
16                The laborers were conducting servicing and cleaning of the dual auger
                  Screening Unit on the Biosolids reclamation project site without the
17                necessary training to ensure they understood the purpose and function of
                  the energy control program and had the knowledge and skill necessary to
18                carry out the program responsibilities.

19                Employees not trained to ensure understanding and the skill necessary to
                  carry out the energy control program may not be able to follow the
20                procedures, thus exposing them to moving machinery which could cause
                  permanently disabling or fatal injuries.
21
              d. WAC 296-24-75011(1)(b):
22
                  The employer did not ensure that a guard rail had an intermediate rail.
23

24   COMPLAINT - 23
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 1                  The guard rail on the Screening Unit did not have an intermediate rail
                    exposing workers to a fall of approximately 14 feet.
 2
                    A fall from approximately 14 feet may cause injuries that could/result in
 3                  hospitalization or death.

 4            IV. CAUSE OF ACTION: DELIBERATE INJURY BY DEFENDANT APGI

 5          50.     Prior allegations. Plaintiff incorporates his prior allegations.

 6          51.     Duties. Defendant APGI had a duty to Sergey Devyatkin to ensure that all work

 7   conditions on the Project construction site complied with the Washington Industrial Safety and

 8   Health Act, Chapter 49.17 RCW (“WISHA”), and the regulations promulgated pursuant thereto

 9   by the Washington Department of Labor and Industries, including without limitation Chapter

10   296-115 WAC. Defendant APGI had a non-delegable duty to its Project workers, including but

11   not limited to Sergey Devyatkin, to follow required and/or otherwise reasonable worksite safety

12   practices in order to furnish a Project site free from recognized hazards that may cause serious

13   injury or death.

14          52.     Breaches. By the acts and omissions described above, Defendant APGI breached

15   its duties of care owed to Sergey Devyatkin by promoting, practicing and/or tolerating unsafe

16   working conditions at the time of the incident, by failing to manage, supervise and enforce safety

17   rules in the work area where the incident occurred, by failing to protect, inspect and properly

18   illuminate the work area where the incident occurred, by failing to instruct, train and warn the

19   workers in the incident area of the dangers of working in an area where a worker could fall into

20   the Screening Unit tank and the proper safety procedures applicable to the work they were doing

21   on the day of the incident, by failing to perform an activity hazard analysis for the type of work

22   being done at the time and location of the incident, by failing to provide guards, barriers, tie-offs,

23   and personal protective equipment, by failing to take other reasonable steps to make the Project

24   COMPLAINT - 24
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 1   site reasonably safe with respect to such work, and/or, on information and belief, by failing to

 2   enforce worksite safety measures including but not limited to the Defendant’s own safety

 3   standards, procedures and protocols.

 4             53.   State Regulatory Violations.       By the acts and omissions described above,

 5   Defendant APGI violated WISHA, and the regulations promulgated pursuant thereto by the

 6   Washington Department of Labor and Industries and effective as of the date of the actions and

 7   omissions that led to the incident that is the basis of this lawsuit.

 8             54.   Deliberate Intention to Harm Employee. Defendant APGI’s deliberate

 9   indifference as manifested by its willful and wanton actions and omissions described above

10   demonstrate a “deliberate intention” to produce Sergey Devyatkin’s injuries and death, within

11   the meaning of RCW 51.24.020. Defendant APGI had actual knowledge that injury and death

12   were certain to occur if a worker were to fall onto rotating augurs; and actually knew that an

13   injury due to a fall from the catwalk was not only possible, but highly likely to occur eventually

14   under the constant highly dangerous work conditions at the Project. Defendant APGI not only

15   willfully disregarded that knowledge but demanded that its illegally undertrained, under-

16   supervised and unprotected employees engage in the extremely risky activity of using a hose in

17   the dark on a slanted, slimy metal grate above an open hole containing sharp and/or churning

18   augurs.

19             55.   Causation and injuries. The “deliberate intention” of Defendant APGI, as

20   described above, caused Sergey Devyatkin to experience extensive bodily injury including

21   goring and dismemberment, pain, suffering, anxiety, fear, and extreme terror, and to die a

22   horrific death. As a consequence, he also lost future wages and earning opportunities. As a result

23

24   COMPLAINT - 25
                                                                                 STRITMATTER KESSLER WHELAN
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 1   of his death, Sergey Devyatkin’s mother suffered the loss of her son’s consortium, including but

 2   not limited to love, affection, care, guidance, society, and companionship.

 3          56.     Damages. The aforementioned injuries to Sergey Devyatkin caused his Estate to

 4   suffer special damages for expenses of medical attention, funeral/memorial and burial, lost

 5   wages and earning opportunities, and caused him and his mother to suffer general damages, in

 6   amounts to be proved at trial.

 7
                            V. CAUSE OF ACTION: PRODUCT LIAIBLITY
 8
            57.     Prior Allegations. Plaintiff incorporates his prior allegations.
 9
            58.     Synagro Purchase of Pace DS Capital Assets. On or about March 17, 2020, a
10
     little less than five months before Sergey Devyatkin was killed, Synagro published a press
11
     release containing the following text:
12
              Synagro Technologies, Inc., the preeminent provider of biosolids and residuals
13            solutions services in North America, today announced that it has acquired capital assets
              from Pace Dewatering Systems, an Edmonton, Alberta, Canada supplier of centrifuge
14            technology.

15            “This acquisition enables our continuing rapid growth in biosolids services and our
              ongoing multimillion-dollar investment in developing and maintaining North
16            America’s most extensive fleet of biosolids management equipment,” said Bob Preston,
              president and chief executive officer, Synagro. “It also broadens our portfolio
17            substantially and furthers our leadership position as the only biosolids management
              company to offer a full facilities, rail and services portfolio.”
18
              “Pace’s unique process and equipment design, as well as reliable state-of-the-art
19            dewatering technology, has consistently produced unparalleled results,” added Preston.
              “This investment underscores our commitment to making significant infrastructure,
20            industry, equipment and customer investments.”

21            Pace has operated rental or temporary sludge dewatering contracts in almost every
              Canadian province and a large percentage of U.S. states including California, Florida,
22            Massachusetts, New Jersey, Texas, Washington and others.

23

24   COMPLAINT - 26
                                                                                   STRITMATTER KESSLER WHELAN
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 1            “We already had the largest fleet of biosolids centrifuges in North America,” added
              Mike Myers, director, Sales & Operations, Synagro. “This extends our lead to 32
 2            centrifuges while our closest competitor has only six.
            59.     Most Experienced Team.       In its press release on or about March 17, 2020,
 3
     Synagro Technologies, Inc. announced that it has “the most experienced team in the [industrial
 4
     water and wastewater] industry.” Defendant Synagro Technologies, Inc. is a corporate affiliate
 5
     of Defendants Synagro West and Synagro-WWT, and at the time of that announcement
 6
     considered the latter two entities part of that “most experienced team”.
 7
            60.     Screening Unit Acquired and Leased. Defendant Synagro West acquired the
 8
     Screening Unit from Pace DS, and leased it to Defendant APGI.
 9
            61.     Plans and Specifications.      On information and belief, subject to further
10
     investigation and discovery: (a) Defendant APGI developed the plans and specifications for the
11
     Dewatering System, including but not limited to selection and incorporation of the Screening
12
     Unit component of the Dewatering System. (b) Defendant Synagro West selected the Screening
13
     Unit and represented to Defendant APGI that the Screening Unit was appropriate for
14
     incorporation into the Dewatering System at the Project. (c) Defendant Synagro West designed,
15
     produced, made, fabricated constructed and/or remanufactured, as a component of the
16
     Dewatering System, the Screening Unit for its sale or lease within the meaning of RCW 7.72.
17
            62.     Installation. On information and belief, and subject to further investigation and
18
     discovery, Defendant APGI, with or without the assistance of Defendants Synagro West and/or
19
     Synagro-WWT, installed the Screening Unit at the subject job site.
20
            63.     Manuals. Defendant Synagro did not provide Defendant APGI or the City of
21
     Marysville with any operation or maintenance manual for the Screening Unit.
22

23

24   COMPLAINT - 27
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 1          64.     Relevant Product. The Dewatering System, each of its components (including but

 2   not limited to its Screening Unit and the components of that unit), and each of its instructions

 3   and/or manuals, is each a “product” and a “relevant product” within the meaning of the

 4   Washington Product Liability Act, Chapter 7.72 of the Revised Code of Washington.

 5          65.     Product Seller. On information and belief, subject to further investigation and

 6   discovery, each Defendant is a “product seller” of a relevant product and/or a component of a

 7   relevant product within the meaning of the Washington Product Liability Act, Chapter 7.72 of

 8   the Revised Code of Washington, because each Defendant engaged in the business of selling

 9   some or all of a relevant product that injured and killed Sergey Devyatkin; and/or each

10   Defendant has as a matter of law, by virtue of direct or vicarious liability, successor liability,

11   and/or otherwise, acquired the liabilities of a “product seller” with respect to a relevant product.

12          66.     Manufacturer. On information and belief formed after reasonable inquiry, subject

13   to further investigation and discovery, each Defendant is a “manufacturer” of a relevant product

14   within the meaning of the Washington Product Liability Act, Chapter 7.72 of the Revised Code

15   of Washington, because each Defendant designed, made, fabricated, constructed, and/or

16   remanufactured, and/or had the contractual and/or designated responsibility to design, make,

17   fabricate, construct and/or remanufacture, and/or marketed or branded under its name some or all

18   of the relevant product that injured and killed Sergey Devyatkin; and each Defendant has as a

19   matter of law, by virtue of direct or vicarious liability, successor liability, RCW 7.72.040(2),

20   and/or otherwise, acquired the liabilities of a “manufacturer” within the meaning of the

21   Washington Product Liability Act.

22

23

24   COMPLAINT - 28
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 1                                      A. DEFECTIVE DESIGN

 2          67.      Design Defects. The relevant product that injured and killed Sergey Devyatkin

 3   was defective and not reasonably safe as designed because, at the time of manufacture, the

 4   likelihood that the product would cause his harm or similar harms, and the seriousness of those

 5   harms, outweighed the burden on the manufacturer to design a product that would have

 6   prevented those harms and the adverse effect that an alternative design that was practical and

 7   feasible would have on the usefulness of the product. Specifically, the manufacturer Defendants

 8   failed to design the relevant product in a manner that would prevent the likelihood that a worker

 9   using the product would be injured by falling onto the dual augurs of the Screening Unit; a

10   design that would not present a danger but instead would mitigate or eliminate the likelihood of

11   injury and death under the circumstances Sergey Devyatkin encountered.

12          68.      Ordinary Consumer.     The relevant product was unsafe in design to an extent

13   beyond that which would be contemplated by the ordinary consumer.

14                          B. FAILURES TO WARN AND/OR INSTRUCT

15          69.      Failures to Warn and/or Instruct. The relevant product that injured and killed

16   Sergey Devyatkin was not reasonably safe because, at the time of manufacture:

17                a. Each Defendant failed to provide adequate warnings or instructions concerning

18                   the relevant product, including but not limited to providing product users,

19                   including but not limited to Sergey Devyatkin, notice and reminders in a manual,

20                   during instruction, and/or on the machine, of a protocol for safely avoiding the

21                   hazards presented by the relevant product’s design; and/or

22                b. The likelihood that the relevant product would cause Plaintiffs’ harms or similar

23                   harms, and the seriousness of those harms, rendered the warnings or instructions

24   COMPLAINT - 29
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 1                  of Defendants inadequate and Defendants could have provided adequate warnings

 2                  or instructions.

 3          70.     Ordinary Consumer. Each Defendant’s failures to warn rendered the relevant

 4   product unsafe to an extent beyond that which would be contemplated by the ordinary consumer.

 5           C. POST-MANUFACTURE FAILURES TO WARN AND/OR INSTRUCT

 6          71.     Post-Manufacture Failures to Warn and/or Instruct. The relevant product that

 7   injured and killed Sergey Devyatkin was not reasonably safe because adequate warnings or

 8   instructions were not provided after the product was manufactured and before it injured him,

 9   because, on information and belief formed after a reasonable inquiry, after the relevant product

10   was manufactured, one or more of the Defendants learned, or a reasonably prudent manufacturer

11   should have learned, about the danger connected with the product that led to his injuries and

12   death. Accordingly, each Defendant was under a duty to act, with regard to issuing warnings or

13   instructions, in a manner that a reasonably prudent manufacturer would act in the same or similar

14   circumstances; including but not limited to providing notice and reminders in the manual, during

15   instruction, and on the machine, of a protocol for safely avoiding the hazards presented by the

16   relevant product’s design. Defendants did not satisfy this duty because they failed to exercise

17   reasonable care to inform the relevant product’s users, including but not limited to Sergey

18   Devyatkin, of the danger and a safe way to avoid it.

19         C. FOURTH CAUSE OF ACTION: BREACH OF IMPLIED WARRANTIES
20
            72.     Breach of Implied Warranties. On information and belief, the Screening Unit did
21
     not conform to an implied warranty created by Title 62A RCW, because its design and
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24   COMPLAINT - 30
                                                                                STRITMATTER KESSLER WHELAN
                                                                                                KOEHLER MOORE
                                                                                     3600 15th Avenue West, Ste. 300
                                                                                                  Seattle, WA 98119
                                                                                                       206-448-1777
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 1   construction lacked appropriate safety features and instructions, and therefore it was not

 2   merchantable, RCW 62A.2-314, and was unfit for its particular purpose, RCW 62A.2-315.

 3                     D. FIFTH CAUSE OF ACTION: NEGLIGENCE
 4
             73.     Negligence. If any Defendant was a “product seller” but not a “manufacturer,”
 5
     within the meaning of the Washington Product Liability Act, Chapter 7.72 of the Revised Code
 6
     of Washington, or was not a “product seller” within the meaning of that Chapter, and was by
 7
     contract or otherwise obliged or designated to select and/or maintain the relevant product, to
 8
     make that relevant product reasonably safe for foreseeable uses, and/or to transmit information
 9
     concerning safely avoiding the hazards presented to workers using the relevant product, prior to
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     attempting to use the product, but such a Defendant breached its duty to provide adequate
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     information, instruction and/or warnings to Sergey Devyatkin, then such a Defendant was
12
     negligent in that failure.
13
             74.     Causation, Injuries and Damages. Defendants’ breaches described in any and all
14
     causes of action described above caused Sergey Devyatkin’s Estate to suffer injuries and special
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     damages for expenses of medical attention and funeral/memorial and burial, lost wages and
16
     earning opportunities, and caused him and his mother to suffer general damages, in amounts to
17
     be proved at trial.
18

19                                       VI. PRAYER FOR RELIEF

20           WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, as

21   follows:

22           A.      For an award of damages compensating Plaintiff for the aforementioned injuries and

23   past, present and future economic and non-economic damages in an amount to be proven at trial;

24   COMPLAINT - 31
                                                                                 STRITMATTER KESSLER WHELAN
                                                                                                 KOEHLER MOORE
                                                                                      3600 15th Avenue West, Ste. 300
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                                                                                                        206-448-1777
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 1          B.      For an award to Plaintiff of Plaintiff’s reasonable attorneys’ fees and costs incurred

 2   herein to the extent permitted by law;

 3          C.      For an award to Plaintiff of prejudgment interest to the extent permitted by law; and

 4          D.      For such other and further relief as the Court deems just.

 5          DATED November 8, 2021.
                                                   STRITMATTER KESSLER KOEHLER MOORE
 6
                                                   s/ Brad J. Moore
 7                                                 Brad J. Moore, WSBA #21802

 8                                                 s/ Daniel R. Laurence
                                                   Daniel R. Laurence, WSBA #19697
 9
                                                   3600 15th Ave. W., Suite 300
10                                                 Seattle, WA 98119
                                                   Telephone: 206-448-1777
11                                                 brad@stritmatter.com
                                                   dan@stritmatter.com
12
                                                   Attorneys for Plaintiff
13

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24   COMPLAINT - 32
                                                                                   STRITMATTER KESSLER WHELAN
                                                                                                   KOEHLER MOORE
                                                                                        3600 15th Avenue West, Ste. 300
                                                                                                     Seattle, WA 98119
                                                                                                          206-448-1777
